                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         CRIMINAL DOCKET NO.: 5:94CR36

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                         ORDER
MICHAEL HART (5),                   )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on Defendant’s “Motion to Correct Judgment

Pursuant to Fed. R. Crim P. 36,” filed April 18, 2005. The Government did not respond to this

Motion.

       On June 1, 1995, Defendant pled guilty pursuant to a Plea Agreement to the charge of

conspiracy to possess with intent to distribute and distribution of cocaine and cocaine base, in

violation of 21 U.S.C. § 846. On January 10, 1996, this Court sentenced Defendant to 121

months imprisonment followed by five (5) years of supervised release. Judgment was entered on

February 9, 1996.

       On February 4, 2004, Defendant commenced his term of supervised release. However, on

September 20, 2004, in light of Defendant’s various violations of his supervised release, the

Government filed a “Petition for Warrant or Summons for Offender Under Supervision.” On

September 20, 2004, United States Magistrate Judge Carl Horn granted the Government’s

Motion for Warrant and Defendant was arrested on October 22, 2004 for his supervised release

violations. This Court, on November 22, 2004, conducted a supervised release violation hearing,

at which time Defendant pled guilty to all the violations alleged. Consequently, the Court


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revoked Defendant’s supervised release and ordered that Defendant be held for fourteen months

due to his violations. Judgment was entered on January 6, 2005. Defendant did not appeal this

sentence.

        Defendant now contends that pursuant to the Plea Agreement, the Government agreed

that it would not oppose the Court recommending to the United States Bureau of Prisons that

Defendant be given credit for time served from December 4, 2004 to February 23, 2005.

Defendant argues that despite his Plea Agreement, the United States Probation Office refused to

recommend that Defendant receive credit for time served, and this Court did not extend such

credit. Defendant asks the Court, pursuant to Rule 36 of the Federal Rules of Criminal

Procedure, to amend his Judgment to reflect his entitlement to credit for time served between

December 4, 2004 and February 23, 2005.1

        With regard to Defendant’s contention that his Plea Agreement contained a provision

whereby the Government agreed to make a recommendation regarding time for credit served, the

Court’s review of Defendant’s file shows that Defendant did not have a Plea Agreement with the

Government with regard to his supervised release violation. Although Defendant entered a plea

of guilty pursuant to a Plea Agreement for his initial drug charges, no such Agreement was

entered on Defendant’s supervised release violation. Moreover, although the Court often receives

inquires regarding credit for time served, it has no authority to determine how much credit is

warranted without a proper action brought after the exhaustion of administrative remedies. Thus,

before the Court can involve itself in this matter, the Bureau of Prisons must first make a



        1
         The Court presumes that Defendant meant to reference Rule 35 of the Federal Rules of Criminal
Procedure, which is titled “Correcting or Reducing a Sentence.”

                                                      2


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determination of an amount of credit due, if any.

       IT IS, THEREFORE, ORDERED that Defendant’s “Motion to Correct Judgment

Pursuant to Fed. R. Crim. P. 36” is hereby DENIED.




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                     Signed: December 13, 2005




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